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                         ORANGE COUNTY BOARD OF SUPERVISORS
                                             MINUTE ORDER
                                                March 14, 2023

Submitting Agency/Department: County Counsel
 Pursuant to Government Code Section 7283. I conduct public hearing regarding Transparent Review of Unjust Transfers
 and Holds (TRUTH) Act and receive and file information from County law enforcement departments regarding
 Immigration and Customs Enforcement's access to indiv iduals in 2022 - All Districts

The following is action taken by the Board of Supervisors:
APPROVED AS RECOMMENDED O                    OTHER 18:1

 RECEIVED AND FILED

Unanimous O (I) DO:      (2) SARMIENTO: (3) WAGNER: (4) CHAFFEE: (5) FOLEY:
 Vote Key: Y=Yes,· N=No; A =Abstain; X=Excused; B.O. =Board Order

Documents accompanying this matter:

 D Resolution(s)
 D Ordinances(s)
 0 Contract(s)
Item No. S38G

Special Notes:

Copies sent to:

  CoCo - Nicole Sims

          3117/23




                                                      I certify that the foregoing is a true and correct copy of the Minute Order adopted
                                                      by the Board of Supervisors, Orange County, State of California.
                                                      Robin Stiel er, Clerk of the Board




                                                                                                                       EXHIBIT E
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                    County Executive Office
                    Memorandum

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                                                                                                                    I
                                                                                                                        l



 March 8, 2023


 To:             Clerk of the Board of Supervisors                        Digitally signed by Frank Kim
                                                                          ON: cn=Frank Kim, o=County
                                                                          of Orange, ou:CEO,
                                                                          email=frank.kim@ocgov.com,
 From:           Frank Kim, Coun ty Executi ve Officer                    c:US
                                                                          Date: 2023.03.08 16:42:06
                                                                          ·08'00'


 Subject:        Exception to Rule 21



 The County Executive Office is requesting a Supplemental Agenda Staff Report for the March
 14, 2023, Board Hearing.


 Agency:         County Cou nse 1
 Subject:        Tran s paren t Review of Unjust Transfers and H olds (TRUTH) Act Communily
                 Forum
 Districts:      All

 Reason Item is Supplemental: This item is a supplemental item to allow the Sheriff's
 Department time to gather d a ta about the access to individuals provided to Immigration and
 Customs Enforcem ent (ICE) during 2022 and to accommodate the Sheriff's sched ule.

Justification: This item must be heard on March 14, 2023, beca use the 30-day public notice
required by Government Code Section 7283.J speci • that d ate. If it is continu ed, the 30-day
public notice must be g iven c ew. This Agend taff Re rt and attachmen ts were finalized
after the filing d ea in o 1 C le1 of the Boa• d.



Concu r:



cc:      Boa rd of Supervisors
         Cou nty Executive Office
         Coun ty Counsel




                                                                                                          EXHIBIT E
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                                                                                                                   Agenda Item
                                                                                                                    Cler k's Use 0 11/y
                                                         SUPPLEMENTAL AGENDA ITEM
                                                            AGENDA STAFF REPORT



          MEETING DATE:                                                03114123
          LEGAL ENTITY TAKING ACTION:                                  Board of Supervisors
                                                                                                                                              ··,
          BOARD OF SUPERVISORS DISTRICT(S):                            All Districts
          SUBMITTING AGENCY/DEPARTMENT:                                County Counsel
                                                                                     ............- ...
          DEPARTMENT HEAD REVIEW:                                       Leon. J Page ~==~c::-~                                              ' ".)

          DEPARTMENT CONTACT PERSON(S):                                Leon J. Page(714)834-3300
                                                                                                                                             :j
                                                                       Nicole A. Sims (7 14) 834-33 I9                                     --1
                                                                                                                                           CJ

         SUBJECT: Transparent Review of Unj ust Transfers and Holds (TRUTH) Act Community Forum

          CEO C ONCUR                                         COUNTY COll 'SEL R EVIEW                                      CLERK OFTII E BOARD
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                        ON cnaft~k Kim, 02County ol              No Legal Objection                                                       Public Hearing
                        Ora~. ou-.CEO,
                        tnu11l11franlt lum4'0CgOY com,
                        caUS
                                                                                                                            3 Votes Board Majority
                        D.J1~ 20130308164<1-06-08'00'


                CEO Sig11a111re                                 Co11111y Co1111sel Sig11a111re


          Budgeted: NIA                                    Current Year Cost: NIA                             Annual Cost: NIA

          Staffing Impact: NIA          # of Positions:                                                        Sole Source: NIA
          Current Fiscal Year Revenue: NIA
          Funding Source: NIA                                                                    County Audit in last 3 yea rs NIA

          Prior Board Action: 12/8/2020. Item #S34A. 21231202 1, Item #S ISC, 3122/22. Item #S46A

         RECOMMENDED ACTION(S)

            I. Pursuant to Government Code section 7283.1 , conduct public hearing regarding access to
               individuals that has been provided to Immigration and Customs Enforcement by County law
               enforcement depat1ments during 2022.

            2. Recei ve and tile information from County law enforcement departments regarding Immigration and
               Customs Enfo rcement" s access to individuals in 2022.

         SUMMARY:

         California's Transparent Review of Unjust Transfers and Ho lds (TRUTH) Act (Government Code sect ions
         7283 and 7283. I) requires that a Community Forum be held each year, to provide the public with
         information about what access to individuals had been provided to Imm igration and Customs Enforcement
         (ICE) by County law enforcement departments during the preceding year.

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                                                                                                                                          EXHIBIT E
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BACKGROUND INFORMATION:

In accord with Government Code sections 7283, subdivision (a) and 7283.1, subdivision (d), the Board has
held a public hearing at its meetings on December 8, 2020, February 23, 2021, and March 22, 2022, to
provide the public with information about what access to individuals had been provided to ICE by County
law enforcement departments during the preceding year.

Government Code section 7283, subdivision (d), defines "ICE access" as follows:

          "ICE access" means, for the purposes of civil immigration enforcement, including
          when an individual is stopped with or without their consent, arrested, detained, or
          otherwise under the control of the local law enforcement agency, all of the following:
          (I) Responding to an ICE hold, notification, or transfer request.
          (2) Providing notification to ICE in advance of the public that an individual is being
          or will be released at a certain date and time through data sharing or otherwise.
          (3) Providing ICE non-publicly available information regarding release dates, home
          addresses, or work addresses, whether through computer databases, jail logs, or
          otherwise.
          (4) Allowing ICE to interview an individual.
          (5) Providing ICE information regarding dates and times of probation or parole check-
          ms.

Sheriff's Department (OCSD)

Following the enactment of state laws limiting law enforcement agencies' cooperation with ICE except as
provided, OCSD implemented a jail policy and created forms to meet the laws' requirements. OCSD's
jail policy 1206 (Attachment B) prohibits any transfer of an inmate to ICE's custody unless in accordance
with state law. Following the enactment of the Transparent Review of Unjust Transfers and Holds
(TRUTH) Act, OCSD created forms by which OCSD requests an inmate's written consent to be
interviewed by ICE ("TRUTH Act Interview Consent Form") and also notifies an inmate if the inmate
qualifies to be transferred to ICE's custody following the inmate's release from OCSD's custody
("TRUTH Act Notification Form") (Attachment C).

OCSD provided the following information for 2022 (see Attachments D and E):

   •   In calendar year 2022, a total of 272 inmates released from the Orange County Jail had ICE
       detainers, meaning ICE requested that OCSD notify them when the inmates were being released
       from OCSD's custody. OCSD notified ICE about 155 of those 272 inmates upon the inmates'
       completion of their time in local custody. Those inmates were all individuals whose criminal
       convictions met the state law's requirement for transfer to ICE's custody. Of the 155 individuals,
       only l 7 or l O. 9 percent were transferred to ICE' s custody. With respect to the other I 3 8
       individuals who, under state law, were eligible for transfer to ICE, ICE took no action and these
       individuals were released back into the community. A total of 20 of these individuals were re-
       arrested for new crimes in Orange County.

   •   State law prohibited OCSD from notifying ICE of the release of 117 inmates who had ICE
       detainers. Of the 117 inmates with ICE detainers who were released back into the community, 13
       were re-arrested for new crimes in Orange County.

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                                                                                                   EXHIBIT E
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Probation Department (Probation)

Probation does not permit ICE to have access to any juvenile in Probation's custody or under Probation's
supervision. This is in accord with Welfare and Institutions Code section 831, which prohibits disclosure
of juvenile information to federal officials absent a court order from the Juvenile Court.

Probation has briefed its officers about the legal requirements for ICE access to adults. Probation has not
had a situation where it has allowed ICE access to an adult in Probation's custody or under Probation's
supervision in 2022.


FINANCIAL IMPACT:
NIA

STAFFING IMPACT:
NIA

REVIEWING AGENCIES:
Sheriffs Department
Probation Department

ATTACHMENT(S):
Attachment A - Government Code sections 7283 and 7283.1; Welfare & Institutions Code section 831
Attachment B - OCSD's Jail Policy Section 1206 (Immigration)
Attachment C- OCSD's Inmate Interview Consent Fom1 and Notification Form
Attachment D - Orange County Jail - Immigration Detainer Data - 2022
Attachment E - Inmates with Immigration Detainers - 2022




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                                                                                                EXHIBIT E
